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 8
 9                             UNITED STATES DISTRICT COURT
10                            SOUTHERN DISTRICT OF CALIFORNIA
11   IMPRIMISRX, LLC,                          ) Case No. 3:21-CV-01305-BAS-DDL
                                               )
12               Plaintiff,                    ) DEFENDANTS’
                                               ) MEMORANDUM OF POINTS
13         v.                                  ) AND AUTHORITIES IN
                                               ) SUPPORT OF DEFENDANTS’
14   OSRX, INC.; OCULAR SCIENCE,               ) RENEWED MOTION FOR
     INC.,                                     ) JUDGMENT AS A MATTER OF
15                                             ) LAW OR, IN THE
                 Defendants.                   ) ALTERNATIVE, MOTION FOR
16                                             ) A NEW TRIAL
                                               )
17                                             ) Hearing Date: April 25, 2025
                                               ) Courtroom: 12B
18                                             ) Judge: Hon. Cynthia A. Bashant
                                               )
19                                             ) NO ORAL ARGUMENT UNLESS
                                               ) ORDERED BY THE COURT
20                                             )
                                               )
21                                             ) Filed Concurrently With
     OSRX, INC.; OCULAR SCIENCE,               ) Defendants’ Notice of Motion and
22   INC.,                                     ) Motion
                                               )
23               Counterclaimants,             )
                                               )
24         v.                                  )
                                               )
25   IMPRIMISRX, LLC,                          )
                                               )
26               Counterdefendant.             )
                                               )
27                                             )
                                               )
28
     MPA ISO DEFS' RENEWED MOT. FOR JMOL, OR                CASE NO. 3:21-CV-1305-BAS-DDL
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 1         Defendants OSRX, Inc. (“OSRX”) and Ocular Science, Inc. (“Ocular Science,”
 2   together “Defendants”) respectfully renew their motion for judgment as a matter of law,
 3   pursuant to Fed. R. Civ. P. 50, on the grounds that the record does not support the jury’s
 4   verdict. In the alternative, Defendants move for a new trial pursuant to Fed. R. Civ. P. 59,
 5   on the grounds that the jury’s verdict was against the clear weight of the evidence, or
 6   alternatively, for an order of remittitur.
 7   I.    LEGAL STANDARD
 8         Under Rule 50, the Court may set aside a jury verdict as a matter of law if a
 9   reasonable jury would not have had a legally sufficient evidentiary basis to support the
10   verdict. See Fed. R. Civ. P. 50(a), (b). The Court should grant judgment as a matter of
11   law if the evidence in the record, viewed “in the light most favorable” to the nonmoving
12   party, “permits only one reasonable conclusion, and that conclusion is contrary to the
13   jury’s verdict.” Josephs v. Pac. Bell, 443 F.3d 1050, 1062 (9th Cir. 2006).
14         Recognized grounds for a new trial under Rule 59 “include, but are not limited to,
15   claims ‘that the verdict is against the weight of the evidence, that the damages are
16   excessive, or that, for other reasons, the trial was not fair to the party moving.’” Molski v.
17   M.J. Cable, Inc., 481 F.3d 724, 729 (9th Cir. 2007) (quoting Montgomery Ward & Co. v.
18   Duncan, 311 U.S. 243, 251 (1940)); Murphy v. City of Long Beach, 914 F.2d 183, 187
19   (9th Cir. 1990) (“erroneous jury instructions, as well as the failure to give adequate
20   instructions, are also bases for a new trial”). Unlike a Rule 50 motion, a district court
21   reviewing a motion for a new trial has “the duty” to “weigh the evidence” as the Court
22   “saw it, and to set aside the verdict of the jury, even though supported by substantial
23   evidence,” if the Court believes “the verdict is contrary to the clear weight of the evidence”
24   or to prevent a miscarriage of justice. Murphy, 914 F.2d at 187 (citations omitted).
25         A new trial may also be granted if “the damages are excessive.” Molski, 481 F.3d
26   at 729. Even where a new trial is not necessary, remittitur may be appropriate if the Court
27   deems a jury verdict grossly excessive or clearly not supported by evidence. Snyder v.
28   Freight, Constr., Gen. Drivers, Warehousemen & Helpers, Local No. 287, 175 F.3d 680,
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 1   689 (9th Cir. 1999). If the Court determines that the award is grossly excessive, it must
 2   give the prevailing party “the option of either submitting to a new trial or accepting a
 3   reduced amount of damage which the court considers justified.” Fenner v. Dependable
 4   Trucking Co., 716 F.2d 598, 603 (9th Cir. 1983).
 5         The Court also “should determine whether a punitive damage award exceeds the
 6   amount necessary to accomplish the goals of punishment and deterrence in deciding
 7   whether it is grossly excessive.” Morgan v. Woessner, 997 F.2d 1244, 1258 (9th Cir.
 8   1993). The Due Process Clause “prohibits the imposition of grossly excessive or arbitrary
 9   punishments on tortfeasors.” S. Union Co. v. Irvin, 563 F.3d 788, 791 (9th Cir. 2009)
10   (quoting State Farm Mut. Auto. Ins. Co. v. Campbell, 538 U.S. 408, 416 (2003)). There
11   are three guideposts on whether punitive damages are grossly excessive:
12         (1) the degree of reprehensibility of the defendant’s misconduct; (2) the
           disparity between the actual or potential harm suffered by the plaintiff and the
13         punitive damages award; and (3) the difference between the punitive damages
           awarded by the jury and the civil penalties authorized or imposed in
14         comparable cases.
15   Id. The first guidepost is the most important. Id.
16   II.   VALIDITY
17         The parties thoroughly briefed the validity issue in the prior post-trial motion (ECF
18   Nos. 350 at 1-13, 351 at 2-12, 352 at 1-6), which Defendants incorporate by reference.
19   The Court declined to decide the issue at the hearing on January 17, 2025. It remains
20   clear, however, that the marks are generic or, alternatively, merely descriptive.
21          A.    The Purported Marks Are Generic
22         Plaintiff concedes the material facts which require a finding of genericness.
23         First, Plaintiff does not dispute that prednisolone, dexamethasone, gatifloxacin,
24   moxifloxacin, bromfenac, timolol, brimonidine, dorzolamide and latanoprost are the
25   generic names of those medications. See ECF No. 351 at 3, 8; see also Pharmacia Corp.
26   v. Alcon Labs., Inc., 201 F. Supp. 2d 335, 340-42 (D.N.J. 2002) (“latanoprost” is the
27   generic name for drug marketed under “Xalatan” brand name) (“Timolol is the generic
28   name”). Plaintiff also concedes that the same terms are the generic designations for a
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 1   compounded formulation combining the respective medications into one bottle, at least
 2   “when they are fully spelled out—e.g., prednisolone-gatifloxacin-bromfenac.” ECF No.
 3   351 at 3; see also id. at 8 (“the entire chemical formulation—i.e., the generic name”);
 4   Pharmacia, 201 F. Supp. 2d at 341-42 (“timolol-latanoprost” is generic name for drug
 5   marketed under “Xalacom” brand name).
 6         Second, Plaintiff admits that eye doctors “know” the abbreviations refer to the
 7   underlying generic names of those medications: “doctors know that ‘pred’ means
 8   prednisolone, ‘gati’ means gatifloxacin, and ‘brom’ means bromfenac. So it would not
 9   matter the order in which you placed those terms; doctors would still know what the
10   product was.” ECF No. 351 at 6-7 (emphasis added). Plaintiff similarly admits that
11   “[t]here is every reason to believe that eye doctors” would recognize the purported marks
12   as “combinations of abbreviations of generic drug names” and conclude that those
13   combinations “must themselves be generic.” Id. at 8.
14         Thus, Plaintiff admits that “pred-gati-brom” means the same thing to eye doctors as
15   “prednisolone-gatifloxacin-bromfenac,” which is the generic term for that formulation
16   (likewise for the others). Those undisputed facts compel a finding of genericness. Marks
17   are not immune from genericness just because they are composite abbreviations. It is
18   black-letter law that a term is generic if it is “an abbreviation of a generic name which still
19   conveys to the buyer the original generic name connotation of the name which is
20   abbreviated.” See 2 McCarthy on Trademarks & Unfair Competition § 12:37 (5th ed.).
21         Defendants cited overwhelming evidence of genericness (ECF No. 350 at 2-8),
22   which Plaintiff did not and cannot rebut, underscoring that issue turns on legal arguments.
23   Before revisiting those arguments, however, it is worth highlighting Plaintiff’s utter failure
24   to set forth any actual evidence in response to Defendants’ evidence of genericness. After
25   all, it was Plaintiff’s burden to establish that the marks are not generic under the familiar
26   “who-are-you/what-are-you” test. See ECF No. 350 at 1, 11 (citing United States PTO v.
27   Booking.com B.V., 591 U.S. 549, 551 (2020); Rudolph Int’l, Inc. v. Realy’s, Inc., 482 F.3d
28   1195, 1198 (9th Cir. 2007); Filipino Yellow Pages, Inc. v. Asian Journal Publ’ns, Inc.,
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 1   198 F.3d 1143, 1146 (9th Cir. 1999); Threshold Enters., Ltd. v. Pressed Juicery, Inc., 445
 2   F. Supp. 3d 139, 148 (N.D. Cal. 2020); Denver Urban Homesteading, LLC v. Devaes Inst.,
 3   2015 WL 12552043, at *5 (C.D. Cal. Nov. 5, 2015); 2 McCarthy § 19:36).
 4         1.     Plaintiff Is Unable to Address Uncontroverted Evidence of Genericness
 5               a.     Evidence of Generic Use in Ophthalmic Industry
 6         There is ample evidence of generic use in the ophthalmic industry, including the
 7   market context, scientific publications, and use by competitors (ECF No. 350 at 4-6).
 8         Both parties testified about the conventional “multiple bottle” regimens for
 9   post-operative care and glaucoma, which gave rise to the demand for “combination” drop
10   formulations from compounding pharmacies in the first place. See Tr. 287:5-288:9,
11   300:8-305:19; DX076.032-033, 086-088. The individual medications that the parties
12   combine in their formulations are some of the most common prescription drugs for
13   post-operative care (prednisolone, dexamethasone, moxifloxacin, gatifloxacin and
14   bromfenac) and glaucoma (timolol, brimonidine, dorzolamide and latanoprost). See Tr.
15   288:10-291:4; DX076.042, 087-088, 105, 110-111. The medications have “been around
16   forever,” and they have been prescribed together—albeit in separate bottles—for just as
17   long. Id.
18         There are many branded and generic versions of these medications. Tr. 287:24-
19   290:20; DX076.042, 087-088, 105, 110-111. Naturally, the branded versions use the same
20   generic names to identify “what” the medication is, while separate brand names identify
21   the source: e.g., Vigamox (moxifloxacin); Zymaxid (gatifloxacin); Prolensa (bromfenac);
22   Pred Forte (prednisolone); Alphagan (brimonidine); Xalatan (latanoprost); Combigan
23   (brimonidine and timolol). See DX076.042, 087, 105, 110-111. The same terminology is
24   used generically by a range of competitors, including large pharmaceuticals and generic
25   drug manufacturers, other compounding pharmacies, and Defendants. See DX008.005;
26   Tr. 343:22-345:10; DX076.044, 047-048; PX230 ¶ 18. Such use by competitors is
27   indicative of genericness. See Classic Foods Int’l Corp. v. Kettle Foods, Inc., 468 F. Supp.
28   2d 1181, 1190 (C.D. Cal. 2007) (“usage of the term by competitors” is “strong evidence”).
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 1          Articles in scientific journals also show that these individual medications, and
 2   combinations of the abbreviations, are the generic names for those medications. See
 3   DX076.065, 095-101; DX049.090, 096. One article, titled “Comparative analysis of
 4   intravitreal triamcinolone acetonide-moxifloxacin versus standard perioperative eyedrops
 5   in cataract surgery” (DX076.065-070), reports:
 6          Recently, the introduction of triamcinolone acetonide-moxifloxacin
            (Tri-Moxi), which contains 15mg/mL of triamcinolone acetonide and
 7          1mg/mL of moxifloxacin, has made “dropless” surgery a new option. . . .
 8          There are also other types of injectable compound drugs such as
            dexamethasone-moxifloxacin (Dex-Moxi) and dexamethasone-moxifloxacin-
 9          ketorolac (Dex-Moxi-Ketor).
10   See DX076.066 (emphasis added).1 Evidence of generic use in scientific journals is a
11   powerful indication of genericness. See Birchter Electro Med. Sys., Inc. v. Beacon Labs.,
12   Inc., 738 F. Supp. 417, 421 (D. Colo. 1990) (“articles from scientific journals that used
13   the terms generically, as individual words and complete phrases” supports the “claim that
14   the terms are not suggestive or descriptive, but generic”).
15          Given this industry context, it is implausible that eye doctors would understand the
16   common names for these ubiquitous medications—whether abbreviated or not—to signify
17   a source, as opposed to the medication itself.2 Here, the industry context is persuasive
18   evidence of genericness. See Nartron Corp. v. STMicroelectronics, Inc., 305 F.3d 397,
19   406-07 (6th Cir. 2002) (historical use of “smart power” as generic term in semiconductor
20   industry); Realy’s, 482 F.3d at 1198 (historical context of “disinfectable” in relevant
21   industry); Threshold, 445 F. Supp. 3d at 148 (“if the relevant consuming public primarily
22   understands the mark as describing ‘what’ the particular good or service is, then the mark
23      1
           See also DX049.090 (“To evaluate the corneal penetration of moxifloxacin (moxi)
24   and gatifloxacin (gati) following topical ocular administration of VIGAMOX or XYMAR
     by measuring the concentrations of moxi and gati in corneal tissue and aqueous humor
25   (AH) of patients undergoing penetrating keratoplasty (PK)”).
         2
26         Eye doctor familiarity with the medications is why Plaintiff uses the abbreviations.
     As Ms. White testified, Plaintiff “depends” on eye doctors recognizing the underlying
27   medications within the asserted mark, since compounding pharmacies are not allowed to
     tell eye doctors how the formulations can be used. Tr. 290:21-291:14, 293:2-9. That is,
28   Plaintiff uses easily recognizable abbreviations for the medications because “physicians
     know what they can be used for,” based off the name. See DX076.063, 093, 116.
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 1   is or has become generic”).
 2          Plaintiff did not discuss any of these examples, except in two bizarre points that
 3   make no sense. See ECF No. 351 at 8 (lines 4-13).3 Nor did Plaintiff cite any evidence
 4   supporting the implausible notion that it managed to train doctors to associate well-known
 5   generic drug names—the antithesis of a trademark—with a single source. See Pharmacia,
 6   201 F. Supp. 2d at 340-42, 374, 379 (“in the pharmaceutical field, professionals have been
 7   trained to distinguish generic and proprietary names within a class of drugs”).
 8               b.      Plaintiff’s Own Use of the Purported Marks
 9          As Defendants showed (ECF No. 350 at 3, 6-7), Plaintiff’s witnesses confirmed that
10   the purported marks were meant to signify the underlying generic names of the drugs. See
11   DX3000 at 244:7-13, 248:6-249:18; DX3005 at 79:11-23, 88:7-9, 100:5-8, 134:3-6; Tr.
12   173:4-6. Defendants also highlighted evidence which reflects Plaintiff’s generic use of
13   the abbreviations, including in marketing materials, internal materials, communications
14   with the PTO, and lawsuits against Defendants (ECF No. 350 at 6-7).
15          In its marketing materials, Plaintiff categorizes its drugs into portfolio brands:
16   “Simple Drops” is the portfolio for glaucoma drops, including TIM-LAT, TIM-BRIM-
17   DOR and TIM-BRIM-DOR-LAT; “LessDrops” is the portfolio for topical post-operative
18   drops, including PRED-MOXI, PRED-BROM, PRED-GATI-BROM and PRED-MOXI-
19   BROM; and “DropLess” is the portfolio for post-operative injectables, like DEX-MOXI.
20   See Tr. 115:14-17, 117:7-21, 282:23-284:20; DX076.051; DX032; PX226.005-011.
21          These portfolio brands, and ImprimisRx’s housemark, are Plaintiff’s source
22   identifiers. On the other hand, the nondescript abbreviations, which always appear next
23   to those actual source identifiers, clearly do not function as trademarks in any of Plaintiff’s
24
25      3
          Plaintiff argues that the reference to “dexamethasone-moxifloxacin (Dex-Moxi)” is
26   not generic because the “shortened phrase” is not necessary. See ECF No. 351 at 8. That
     argument makes no sense, as the example clearly shows the abbreviation used as an
27   equivalent to the generic term. Plaintiff also notes that another compounding pharmacy
     used the abbreviations before Plaintiff’s mark was registered (id.), even though prior use
28   by third parties is evidence for, not against, genericness.
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 1   marketing materials. Rather, they are just the first syllable of the generic medications that
 2   Plaintiff can compound.4 They merely answer the question “what [medication] are you,”
 3   which makes them “generic.” Threshold, 445 F. Supp. 3d at 148.5
 4          These materials show that the abbreviations cannot signify anything except the
 5   underlying medications. Each abbreviation (e.g., TIM-LAT) always appears next to the
 6   full generic name of the medication (e.g., “Timolol/ Latanoprost”) and often alongside a
 7   picture of the bottles, which must always include the full generic name of the medication.
 8   See, e.g., DX032; PX226; PX227 (passim). When an “abbreviation is used in association
 9   with the generic words, rather than being used in a way that would give rise to a meaning
10   distinct form those words,” that is evidence that the mark is generic. Welding Servs., Inc.
11   v. Forman, 509 F.3d 1351, 1360 (11th Cir. 2007).
12          Other examples also show that Plaintiff uses the full generic names and
13   abbreviations interchangeably. See PX2071.002; PX2072.005; PX227.025; DX076.092,
14   DX076.174. More importantly, however, there are no examples that suggest these terms
15   were ever used to signify something other than the medications. As the Ninth Circuit said
16   in Surgicenters of Am., Inc. v. Medical Dental Surgeries, Co., there “is nothing in the
17   record to indicate that any potential consumer considered the term ‘Surgicenter’ to mean
18   anything other than a surgical center.” 601 F.2d 1011, 1017 (9th Cir. 1979).
19          Plaintiff did not argue that any of these examples reflect non-generic use, let alone
20   explain why. See ECF No. 351. Instead, Plaintiff merely countered that its own witnesses
21
22      4
           DX032.001-003 (describing Simple Drops formulations as “multiple medications
     into one drop bottle” and “multiple medications into one combination drop”); PX226.039
23   (describing LessDrops as “unique steroid, antibiotic, and nonsteroidal combination
24   formulations”); PX226.005 (describing DropLess formulations as “combination injectable
     formulations” and “intraocular or periocular injections of combinations of
25   anti-inflammatory drugs and antibiotics”); PX228.037 (DropLess order form listing
     “Compounded Formulation[s]” as “Injectable Medications”); DX076.160 (Simple Drops
26   order form listing “Compounded Formulation[s]” as “Topical Medications”).
27      5
          See Cosmetically Sealed Indus., Inc. v. Cheesebrough-Pond’s USA Co., 125 F.3d 28,
     30 (2d Cir. 1997) (non-trademark use where “source of the defendants’ product is clearly
28   identified by the prominent display of the defendants’ own trademarks”).
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 1   subjectively believed the terms were “valuable brand assets around which they built their
 2   business.” ECF No. 351 at 7-8. That, however, says nothing about the operative question:
 3   i.e., whether eye doctors associate the terms with a source, rather than the medications.
 4               c.      Survey Evidence
 5         Finally, Defendants showed that the survey evidence by both parties confirms that
 6   the purported marks are generic, as the vast majority of eye doctors associate them with
 7   the full generic names of the medications. See ECF No. 350 at 4-5, 7-8. Defendants’
 8   expert, Andreas Groehn, showed genericness beyond the 50% threshold (Tr.
 9   505:17-506:15). Ironically, in its criticism of Defendants’ survey, Plaintiff does the best
10   job of articulating why the purported marks are generic:
11         Governing law holds that the combination of generic terms can, in totality, be
           descriptive. There is every reason to believe that eye doctors taking the
12         survey would not know that and might conclude that combinations of
13         abbreviations of generic drug names must themselves be generic.

14   ECF No. 351 at 8 (emphasis added). Plaintiff did not conduct a genericness survey, but
15   its expert, Mark Keegan, conducted a secondary meaning survey, which showed that the
16   vast majority of eye doctors understand the abbreviations to signify the type of medication,
17   not a source. See Tr. 373:14-22; 376:16-18; 389:24-390:8; 502:18-504:10. Mr. Keegan
18   admitted his survey showed evidence of genericness (Tr. 408:16-18), and secondary
19   meaning surveys like his have been held to show genericness, unintentionally. See
20   Snyder’s Lance, Inc. v. Frito-Lay N. Am., Inc., 542 F. Supp. 3d 371, 402-03 (“less than
21   half of the Mantis survey respondents [38.7%] associated [them] with a single source,”
22   which was “clear evidence” of genericness).
23         2.     Plaintiff’s Legal Arguments Against Genericness Lack Merit
24         Plaintiff offered no competent evidence to overcome a finding of genericness. Most
25   saliently, Plaintiff has no direct evidence from eye doctors showing that they primarily
26   associate the abbreviations with anything but the underlying medications. Aside from
27   Plaintiff’s vague testimony about its purported investment into its brands, which is
28   immaterial (infra n.6), Plaintiff primarily relies on two legal arguments: that the purported
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 1   marks are not generic because (i) they are combinations of abbreviations for generic terms,
 2   and (ii) there were alternative abbreviations that Defendants could have used. See ECF
 3   No. 351 at 3-7. Both arguments fail under well-settled caselaw.
 4          Defendants dispelled both arguments in prior briefing. ECF No. 350 at 8-10; ECF
 5   No. 351 at 3-7.6 It is well-settled that abbreviations and/or composites of generic elements
 6   are also generic if, viewed as a whole by the relevant consumer, they have the same
 7   significance as the underlying generic elements. ECF No. 350 at 8-9.7 In some situations,
 8   abbreviations and/or composite terms might be more than the “sum of their parts,” by
 9   taking on “some meaning” beyond the generic elements. Hickory Farms, 500 F. Supp. 2d
10   at 795; Threshold, 445 F. Supp. 3d at 150 (same). Not here, where “doctors know that
11   ‘pred’ means prednisolone.” ECF No. 351 at 6-7. It is also well-settled that generic terms
12   are still generic even if there are other generic terms for the same good. ECF No. 350 at
13   9-10 (citing Threshold, 445 F. Supp. 3d at 154; Shire City Herbals, Inc. v. Blue, 410 F.
14   Supp. 3d 270, 296 (D. Mass. 2019)).
15          Plaintiff did not and cannot dispute Defendants’ cited authorities.8 Instead, Plaintiff
16
        6
17        Defendants anticipated Plaintiff would rely on two other arguments: (i) Plaintiff’s
     purported evidence of acquired distinctiveness and (ii) the PTO status of its marks. ECF
18   No. 350 at 8, 10-11. Plaintiff tacitly conceded those points. ECF No. 352 at 5. In any
     event, there is no evidence of acquired distinctiveness, and Plaintiff acknowledges that a
19   generic term cannot become non-generic due to secondary meaning (ECF No. 352 at 5).
     Regarding the PTO status of its marks, it is beyond dispute that the supplemental register
20   does not confer any evidentiary value on validity, and here the two marks on the principal
     register were not granted based upon a showing of acquired distinction, so they have no
21   presumptions of secondary meaning. ECF No. 350 at 1-11. The PTO status of its marks
     was not contested in the prior briefing (ECF No. 351).
        7
22        See Hickory Farms, Inc. v. Snackmasters, Inc., 500 F. Supp. 2d 789, 795 (N.D. Ill.
     2007) (“Other composite terms are nothing more than the sum of their parts, such as
23   ‘multistate bar examination’ and ‘light beer.’”) (citation omitted); Threshold, 445 F. Supp.
     3d at 150 (same); Engineered Arresting Sys. Corp. v. Atech, Inc., 356 F. Supp. 3d 1323,
24   1342 (N.D. Ala. 2018) (“BAK-12” not distinct from “barrier arresting kit-12”) (quoting
     Welding Servs., 509 F.3d at 1359)); Nat’l Conf. of Bar Examiners v. Multistate Legal
25   Studies, Inc., 692 F.2d 478 (7th Cir. 1982) (“MBE” is generic); 2 McCarthy § 12:37.
        8
26         Plaintiff misleadingly suggested that Defendants provided a legal standard that
     applies only in the Seventh Circuit and has been rejected in the Ninth Circuit. ECF No.
27   351 at 5. Not so. The “deviation from natural usage” or an “unusual unitary combination”
     language, which Plaintiff cited as being rejected, is not in Defendants’ brief. Plaintiff also
28   merely noted the more general rule that a composite of generic elements is not
     automatically generic (id.), even though no one said they are.
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 1   simply made up its own legal doctrines without citation, which misstate the actual law:
 2       “But there are a lot of different ways the generic terms apple, convention, or
          prednisolone can be abbreviated; the abbreviations themselves thus are not
 3        generic.” ECF No. 351 at 3.
 4       “[A] generic term (apple) being combined with a shortened version of another
          generic term (‘cran’ for cranberry’)” creates a “descriptive trademark. … [I]f
 5        CranApple is a descriptive trademark for a juice consisting of the ingredients
          cranberry and apple—as both parties agree—then Pred-Moxi-Brom is at least
 6        descriptive of a compounded formulation consisting of the ingredients
 7        prednisolone acetate, moxifloxacin [sic], and bromfenac.” Id. at 4.

 8       “After all, it would be difficult to advertise an apple cart without ever
          mentioning the word ‘apple.’ But it is apparently not at all that hard to
 9        advertise combination eyedrops without using words such as pred-moxi-brom
          or tim-brim-lat-dor [sic.].” Id. at 6
10
         “Far from showing genericism, this evidence supports non-genericism. If the
11        shortened phrase were necessary to describe the formulations, then there
12        would have been no need to use the longer phrase as well.” Id. at 8.

13          Plaintiff’s focus on the “CranApple” analogy is misguided. Plaintiff admits the
14   marks (e.g., Dex-Moxi) are meant to apply to specific compounded medications (e.g.,
15   dexamethasone-moxifloxacin) and that the full medication names are the generic
16   denominations for them. See ECF No. 351 at 3, 8. For pharmaceuticals, a medication is
17   not a mere “ingredient” or “characteristic” of the good. The medication is the good for
18   trademark purposes. See Pharmacia, 201 F. Supp. 2d at 340-42, 374, 379 (latanoprost is
19   generic name for drug marketed under brand name Xalatan) (timolol-latanoprost is generic
20   name for drug marketed under brand name Xalacom) (“[p]rescription drugs are a unique
21   commodity”) (“prescription drug packaging is required to display generic names”) (“in
22   pharmaceutical field, professionals have been trained to distinguish generic and
23   proprietary names within a class of drugs”).9 Therefore, juice analogies aside, a better
24      9
          See also In re Pennington Seed, Inc., 466 F.3d 1053, 1058 (Fed. Cir. 2006) (“This
25   situation may be contrasted with pharmaceutical products where a generic name is
     designated for a new pharmaceutical product and its manufacturer associates it with a
26   brand name. For example, ibuprofen is the generic term designated for a particular
     nonsteroidal anti-inflammatory drug and ADVIL is a brand name indicating a source of
27   the drug. Trademark protection does not inure to the generic name there and it does not
     do so here.”); Sweich v. Astrue, 2009 WL 890678, at *4 n.35 (N.D.N.Y. Mar. 30, 2009)
28   (“Blephamide” is “[t]rademark for sulfacetamide sodium, treats eye infections, and
                                                                                 (continued...)
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 1   analogy is that “CranApple” is generic for a bowl of cranberries and apples. See ECF No.
 2   351 at 3, 6 (“apple” generic for “the fruit” or “apple cart”).
 3         Plaintiff’s fixation on the number of alternatives for the abbreviations at issue (ECF
 4   No. 351 at 107) is legally incorrect. Supra 9. Moreover, as a practical matter, these drugs
 5   are available for all compounding pharmacies to use, and there are thousands across the
 6   nation. If each one had to invent a new and slightly different abbreviation for the
 7   underlying generic names, it would increase searching costs and consumer confusion,
 8   unless doctors somehow could remember how each pharmacy abbreviates generic names.
 9         The undisputed bottom line is that the marks are composite abbreviations of generic
10   terms, and eye doctors understand the abbreviations to signify the generic names of the
11   underlying medications. Plaintiff admits all of this but ignores the decisive implication.
12          B.    Alternatively, the Purported Marks are Merely Descriptive
13         Plaintiff contends that a reasonable juror could find secondary meaning based on
14   two factors, intentional copying and survey evidence. See ECF No. 351 at 9. Plaintiff has
15   no survey evidence for seven of the marks (PRED-MOXI, DEX-MOXI, PRED-BROM,
16   MOXI-BROM, TIM-LAT, TIM-BRIM-DOR and TIM-BRIM-DOR-LAT). See ECF No.
17   350 at 12; Tr. 395:19-23. Plaintiff does not argue that there is some other combination of
18   evidence that is legally sufficient, absent any survey evidence, to support a finding of
19   acquired distinctiveness as to those marks.
20         As to the two surveyed marks, PRED-MOXI-BROM and PRED-GATI-BROM,
21   Plaintiff’s evidence is a far cry from P&P Imports LLC v. Johnson Enterprises, LLC, 46
22   F.4th 953 (9th Cir. 2022), the case Plaintiff relies upon to argue that it created a “triable
23   issue of fact about secondary meaning.” ECF No. 351 at 9. In P&P Imports, a trade dress
24   case, plaintiff’s survey evidence showed that 63% of respondents believed the product
25   was “from a single source/company,” albeit an “anonymous” one, results which the expert
26
27   prednisolone acetate, treats an allergy or inflammation”); In re Nordic Naturals, Inc., 755
28   F.3d 1340, 1341-42 (Fed. Cir. 2014) (“docosahexaenoic acid” and its abbreviation “DHA”
     both equally generic terms). This case is not about fruits or juices.
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 1   opined “strongly” suggested secondary meaning. See 46 F.4th at 963. Here, by contrast,
 2   Plaintiff’s expert admits that his 35% to 37% survey results did not show a sufficient level
 3   of secondary meaning (Tr. 388:22-389:2, 403:16-20), and even most of those did not
 4   attribute the marks to Plaintiff or a single “anonymous” source but, rather, to Defendants,
 5   other companies, or generic sources (Tr. 376:16-18, 404:25-405:6, 408:16-22,
 6   409:18-412:4, 503:8-504:10).10 Plaintiff cites no case holding a similar showing to be
 7   sufficient.
 8   III. LIKELIHOOD OF CONFUSION
 9           Unlike most trademark cases, here, the purported marks (obvious abbreviations of
10   the generic names of medications, like Pred-Moxi) do not appear on the applicable goods.
11   Instead, the product bottles and packaging must display the full generic names of the
12   medications (e.g., Prednisolone-Moxifloxacin). See, e.g., DX032, PX227, PX2013. Both
13   parties also include their respective housemark logos on the bottles. Id.
14           Plaintiff instead relies on Defendants’ exceedingly rare uses of the purported marks
15   in external communications. Plaintiff mustered only seven examples of Defendants using
16   the actual abbreviations (DX081, PX200, PX220, PX1161, PX2020, PX2032, PX2103):
17       One marketing email sent from an “info@osrxpharmaceuticals.com” email
          account (DX081);
18
         Two one-off email conversations between an OSRX sales rep and a customer
19        (PX2020, PX2103);
20       Two screen shots of a “Prescriber Account” registration webpage, where
          doctors can register a new account, which they must do before they submit
21        prescriptions through the OSRX website (PX200, PX220);
22       One screenshot of an OSRX’s “Resources” webpage, where “Patient Info
          Sheets” can be downloaded (PX2032); and
23
24      10
           An unknown, anonymous source still must be a “single” source, which ultimately
25   turns out to be Plaintiff, not a hodgepodge of other companies, generic sources and
     Defendants. 2 McCarthy § 15:42 (“Of course, to establish a secondary meaning, the
26   survey introduced by a litigant must prove that buyers associate the designation with it,
     not with another company and certainly not associate it with the opponent in the case.”);
27   Herman Miller, Inc. v. Palazzetti Imports & Exports, Inc., 270 F.3d 298, 315 n.7 (6th Cir.
     2001) (“While the law allows secondary meaning to be established by demonstrating that
28   the public is aware that the product comes from an anonymous source, there must be
     evidence indicating that it is a single, anonymous source.”).
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 1       One single-page flier that lists the “Complete Portfolio of Formulations” of
          “OMNI by OSRX drops” (PX1161).
 2
     Based on this record, no reasonable trier of fact could conclude that Defendants’ use of
 3
     the purported marks was “likely to confuse an appreciable number of people as to the
 4
     source of the product.” M2 Software, Inc. v. Madacy Entm’t, 421 F.3d 1073, 1085 (9th
 5
     Cir. 2005) (plaintiff “must show sufficient evidence to permit a rational trier of fact to find
 6
     that confusion is ‘probable,’ not merely ‘possible’”).
 7
             In each instance, it is immediately obvious that Defendants are the source due to
 8
     Defendants’ prominent branding, color scheme and styling, which bear no resemblance to
 9
     Plaintiff’s (compare, e.g., PX2013, PX2032 to PX227, PX228). Courts routinely find no
10
     likelihood of confusion as a matter of law where, as here, the overall impression is so
11
     visually dissimilar to anything related to Plaintiff, and Defendants’ affirmative branding
12
     is so prominent, that it is “implausible” a “consumer would be deceived.” Arcona, Inc. v.
13
     Farmacy Beauty, LLC, 976 F.3d 1074, 1080-81 (9th Cir. 2020) (summary judgment
14
     affirmed where overall impression created no likelihood of confusion even though
15
     defendant used same word mark).11 Moreover, within the few examples that do exist,
16
     Defendants’ use of the abbreviations is fleeting, hard to find and nondescript, such that no
17
18      11
           See also Arcona, 976 F.3d at 1080-81 (“the marks should be ‘considered in their
19   entirety and as they appear in the marketplace’”) (“no reasonable consumer would be
     confused by these two products because the packaging, size, color, shape, and all other
20   attributes—other than the term ‘EYE DEW’—are not remotely similar”) (“it is
     implausible that a consumer would be deceived because the products had their respective
21   housemarks (‘Farmacy’ vs. ‘Arcona’) prominently on the packaging”) (“Despite Arcona’s
     ‘general, conclusory allegations of ‘willfulness,’ it has produced no evidence that Farmacy
22   intentionally copied its marks. In addition, Farmacy’s dissimilar packaging and rampant
     use of its housemark ‘flatly belie[s] any such notion.’”); Katzin Leather, Inc. v. Roadwire,
23   LLC, 2022 WL 17101245, at *6-7 (C.D. Cal. May 6, 2022) (“viewing the parties’ use of
     [the mark] in the context in which they appeared to consumers, the Court finds a
24   reasonable consumer would not be likely to be confused despite the use of the same
     phrase,” where “prominent placement of Katzkin’s and Roadwire’s names on their
25   respective websites renders it implausible that a reasonable consumer would be likely to
     be confused”); CG Roxane LLC v. Fiji Water Co. LLC, 569 F. Supp. 2d 1019, 1033 (N.D.
26   Cal. 2008) (“Although the wording of the marks is similar, the marks should be compared
     in the totality of the circumstances when determining a likelihood of confusion”) (“Since
27   the trade dress of the bottles is markedly dissimilar and defendant uses the mark on the
     back label near its housemark, the marks are not similar based on the totality of the
28   circumstances”) (“The differences in the products as a whole are so striking that there is
     no likelihood of confusion”).
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 1   reasonable person could interpret them as a source identifier, much less a confusing one.
 2   See Dfinity Found. v. Meta Platforms, Inc., 2022 WL 16857036, at *6 (N.D. Cal. Nov. 10,
 3   2022) (finding use of mark “is so fleeting that it cannot be a source of customer
 4   confusion”); Nelson-Ricks Cheese Co. v. Lakeview Cheese Co., 331 F. Supp. 3d 1131,
 5   1149 (D. Idaho 2018) (finding use of mark in very small print at the bottom of a product
 6   information sheet unlikely to give rise to confusion), aff’d 775 F. App’x 350, 352 (9th Cir.
 7   2019) (“Given the difficulty in finding the ‘About Us’ page” and “the difficulty in seeing
 8   the mark on the ‘Pack Size’ page, there is no evidence in the record that Lakeview caused
 9   confusion as to the origin of the mark”).        Particularly so here, where eye doctors
10   understand them to signify common generic medications (supra 2-3). See Dorr-Oliver,
11   Inc. v. Flid-Quip, Inc., 94 F.3d 376, 383 (7th Cir. 1996) (“consumers are generally more
12   likely to think that a competitor has entered the market with a similar product,” rather than
13   “assume that the two manufacturers are associated in some way”).
14         There also is zero evidence of actual confusion. A lack of actual confusion “is
15   weighed heavily” when “the particular circumstances indicate such evidence should have
16   been available” (AMF Inc. v. Sleekcraft Boats, 599 F.3d 341, 353 (9th Cir. 2003)), such
17   as where defendant engages in a “high volume of business” with no or merely “de
18   minimis” instances of confusion. See Nutri/System, Inc. v. Con-Stan Indus., Inc., 809 F.2d
19   601, 606 (9th Cir. 1987). Despite the high volume of sales over many years, Plaintiff
20   offered no survey evidence regarding confusion. See Star Indus., Inc. v. Bacardi & Co.,
21   412 F.3d 373, 388 (2d Cir. 2005) (failure to conduct survey suggests no likelihood of
22   confusion). Moreover, Plaintiff’s witnesses, including John Saharek, Andrew Boll and
23   Mark Baum, did not recall a single instance of actual confusion. See DX3002 at
24   181:05-11, 181:22-182:23 (Saharek); DX3005 at 88:13-16, 100:12-16, 103:7-11,
25   104:23-105:1, 134:10-12 (Boll); Tr. 107-207 passim (Baum).
26         Cindi White was the only witness who recalled one instance of purported confusion.
27   However, her sole anecdote—about an unnamed doctor in Medford, Oregon—is neither
28   relevant nor material. As Ms. White testified, an OSRX sales representative visited the
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 1   doctor’s office and left a brochure. See Tr. 279:15-280:19. Two weeks later, when Ms.
 2   White arrived at the same office, the doctor initially thought that Ms. White was from
 3   OSRX (and she promptly corrected the doctor). Id. Importantly, Ms. White did not testify
 4   that the doctor encountered the subject marks, from either party, much less that the marks
 5   had anything to do with his apparent confusion. See Dfinity, 2022 WL 16857036, at *10
 6   (examples must “represent the natural confusion of a consumer” “experiencing the marks
 7   organically as consumers in the marketplace”); see also Am. Auto. Ass’n of N. Cal., Nev.
 8   & Utah v. Gen. Motors LLC, 367 F. Supp. 3d 1072, 1107 (N.D. Cal. 2019) (“Mr. Haight’s
 9   conclusory statements are not supported by detailed facts or evidentiary support. To the
10   extent he mentions instances of confusion, Mr. Haight provides no details as to who
11   specifically was confused, when the instances occurred, or how many times that type of
12   confusion occurred.”).12
13           In any event, Plaintiff does not contend that actual point-of-sale confusion is an
14   issue in this market. Eye doctors must submit a prescription for these eye medications
15   directly to the pharmacy, where the doctors must first register an account. See, e.g.,
16   Tr. 277:13-21 (“I believe they have a Prescriber Portal where a new account can set up to
17   start prescribing online through them”); PX2020. It is implausible that a doctor could
18   register an account and prescribe medications through Defendants’ pharmacy under the
19
20      12
            With respect to vague references of unnamed people at tradeshows inquiring
21   “whether OSRX and Imprimis are the same” (Tr. 278:16-23), courts have routinely
     rejected similar examples of purported confusion in granting summary judgment based on
22   no likelihood of confusion. See Dfinity, 2022 WL 16857036, at *10 (“[T]hese replies
     indicate a clear understanding that Meta and Dfinity represent different entities, and
23   Dfinitiy’s original tweet prompted the connection and discussion of similarities between
     the marks or possible partnerships”); Aurora World, Inc. v. Ty Inc., 719 F. Supp. 2d 1115,
24   1123-24, 1160-61 (C.D. Cal. 2009) (emails discussing the competitor’s toys as a “[t]otal
     rip off” and “exact copies” of the plaintiff’s toys did not represent evidence of actual
25   confusion because the authors “understand there are at least two different plush toy
     manufacturers”); Cohn v. Petsmart, Inc., 281 F.3d 837, 842 n.7 (9th Cir. 2002) (“Cohn
26   received several dozen inquiries over the years about whether the parties were related.
     Without some other evidence of actual confusion, however, these inquiries are too
27   ambiguous to demonstrate actual confusion.”); Gruner + Jahr USA Pub. v. Meredith
     Corp., 991 F.2d 1072, 1079 (2d Cir. 1993) (“It was proper for the trial court to consider
28   this testimony not as evidence of actual confusion, but rather as showing only queries into
     the possible relationship between the parties’ publications.”).
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 1   mistaken belief that it was Plaintiff’s, much less due to confusion over the marks. Plaintiff
 2   offered no evidence that anything like that ever occurred.
 3           Unable to show a likelihood of conventional confusion, Plaintiff pivoted to a theory
 4   of initial interest confusion, conceding in its closing argument that initial interest
 5   confusion was the only type at issue.13 Plaintiff misunderstood the doctrine, and—in any
 6   event—there is no evidence of it in this case.
 7           “Initial interest confusion has been equated to a ‘bait and switch’ scheme,” which
 8   “occurs when potential customers are lured away from a trademark holder’s product to a
 9   competitor’s product through the deceptive use of the holder’s mark.” Designer Skin, LLC
10   v. S&L Vitamins, Inc., 560 F. Supp. 2d 811, 818 (D. Ariz. 2008). “Deception, it bears
11   emphasizing, is essential to a finding of initial interest confusion,” as illustrated in the
12   “Ninth Circuit’s oft-quoted example of initial interest confusion”:
13           Suppose West Coast’s competitor (let’s call it “Blockbuster”) puts up a
             billboard on a highway reading – “West Coast Video: 2 miles ahead at Exit
14           7” – where West Coast is really located at Exit 8 but Blockbuster is located
15           at Exit 7. Customers looking for West Coast’s store will pull off at Exit 7
             and drive around looking for it. Unable to locate West Coast, but seeing the
16           Blockbuster store right by the highway entrance, they may simply rent there.
17   Id. (citing Brookfield Commc’ns, Inc. v. W. Coast Ent’mt Corp., 174 F.3d 1036, 1064 (9th
18   Cir. 1999)). Plaintiff did not come close to showing anything like that at trial.
19           Here, Plaintiff’s initial interest confusion theory “is little more than a hypothetical
20   as [Plaintiff] cannot provide a single example of initial interest confusion happening.”
21   Nelson-Ricks Cheese, 331 F. Supp. 3d at 1143, aff’d, 775 F. App’x 350. Worse, Plaintiff
22   never even explained what the “bait and switch” scheme was or how it worked. The only
23   testimony remotely related to initial interest confusion was Mr. Baum’s subjective belief
24   that it was easier for Defendants to get “their foot in the door” with doctors by using the
25   same abbreviations as Plaintiff.
26
        13
27         See Tr. 687:1-6 (“But, in general, this is not the type of purchase that’s made in the
     aisle of a grocery store. But that’s not the type of confusion we are -- we are looking at
28   here and that we’re concerned about here. The type of confusion we are concerned with
     here is the following: It’s called ‘initial interest confusion.’”).
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 1       “They copied our stuff. And that’s how they got their foot in the door with
          our customers.” Tr. 148:8-10.
 2
         “They -- we spent millions and millions of dollars, created relationships with
 3        thousands of customers, and the easy way around things, the easy way to do
 4        things, the shortcut is to just take someone else’s brands, use them as your
          own, and go to those same customers and tell them you’ve got what they
 5        what. And that’s what they did.” Tr. 150:20-151:2.
 6       “The reason why they use them and the reason why they’ve copied them is
          because doctors know the brands we built, and they’re really valuable.” Tr.
 7        154:5-10. 14
 8           His self-serving opinions are too vague, abstract and hypothetical to be evidence of
 9   initial interest confusion. There is nothing in the record that illustrates what his “foot in
10   the door” analogy means in concrete terms. A “court cannot simply assume a likelihood
11   of initial interest confusion, even if it suspects it. The proponent of such a theory must
12   prove it.” Vail Assoc., Inc. v. Vend-Tel-Co., 516 F.3d 853, 872 (10th Cir. 2008). A
13   plaintiff cannot satisfy its burden merely by having its CEO say, “defendants did a
14   bait-and-switch.” Mr. Baum’s “foot in the door” testimony is equally threadbare. Indeed,
15   in its closing argument, Plaintiff invented more hypotheticals, rather than cite actual
16   evidence of initial interest confusion:
17           That’s when, in the early days, an OSRX salesperson went to the doctors and
             said, Hey, we’ve got the PRED-MOXI. And the doctor said, Come on in I
18           want to hear more. That’s when they sent emails saying, We just got our
             PRED-GATI-BROM, and the doctor says, I’ve heard of that. That seems to
19           be a market leader. I want to hear more.
20   Tr. 687:11-16. Simply put, there is no evidence of any of these fictional interactions.
21           Further, initial interest confusion could not arise out of the purportedly infringing
22   uses that Plaintiff adduced at trial, where Defendants always made it painfully obvious
23   that OSRX was the source in its materials (supra 12-14). Courts routinely hold that a
24   competitor who clearly labels itself as the source of an advertisement does not create initial
25
        14
26         The only plausible inference is that eye doctors are familiar with the marks because
     they instantly know them as abbreviations for some of the most prescribed, generically
27   available drugs. No doctor would assume the generic name for a drug is some kind of
     brand. See Dorr-Oliver, 94 F.3d at 383 (“consumers are generally more likely to think
28   that a competitor has entered the market with a similar product,” not “assume that the two
     manufacturers are associated in some way”).
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 1   interest confusion.15 As the court explained in Network Automation:
 2           [I]f a shopper en route to the Calvin Klein section is diverted by a
             prominently displayed Charter Club (Macy’s own brand) collection and
 3           never reaches the Calvin Klein collection, it could not be said that Macy’s
             had infringed on Calvin Klein’s trademark by diverting the customer to it
 4           within a clearly labeled, but more prominent display.
 5   638 F.3d at 1148. Or, more bluntly, “what appears to concern [Plaintiff] is not so much
 6   initial-interest confusion, but initial interest, period.” Groeneveld Trans. Efficiency, Inc.
 7   v. Lubecore Int’l, Inc., 730 F.3d 494, 519 (6th Cir. 2013).
 8           Finally, the examples of purportedly infringing use cannot give rise to initial interest
 9   confusion for more practical reasons. Most are screenshots of webpages deep within
10   Defendants’ website. By the time anyone navigates to such pages, it is too late for initial
11   interest confusion. See Designer Skin, 560 F. Supp. 2d at 819 (“An internet searcher
12   cannot possibly be deceived into initially visiting a website by the look of the website
13   itself: the website is not viewed until the searcher arrives.”). The others similarly arise
14   only after a potential customer (or existing customer) already knows she is receiving
15   information from Defendants. Initial interest confusion is also unlikely where, as here,
16   relevant consumers are “sophisticated” and would “exercise a relatively high degree of
17   care” in their purchasing decisions. Sensient Techs. Corp. v. SensoryEffects Flavor Co.,
18   613 F.3d 754, 766 (8th Cir. 2010) (affirming summary judgment).
19   IV. ACTUAL DAMAGES
20           The jury had no basis to find that Plaintiff suffered actual damages, much less $14.5
21   million in lost profits. Plaintiff effectively concedes that it did not try to prove causation
22
23      15
           Sen v. Amazon.com, Inc., 2020 WL 4582678, at *6 (S.D. Cal. Aug. 10, 2020) (“Clear
24   labeling can eliminate the likelihood of initial interest confusion”), aff’d, 2021 WL
     6101385 (9th Cir. 2021); Multi Time Machine, Inc. v. Amazon.com, Inc., 804 F.3d 930,
25   937-38 (9th Cir. 2015) (summary judgement of trademark claims is appropriate “where
     there is clear labeling to avoid the possibility of confusion—including initial interest
26   confusion—resulting from the use of another’s trademark”); 4 McCarthy § 25A:7 (“The
     Ninth Circuit said attention should be focused on the visual appearance of the defendant’s
27   advertisement on the search engine results page, because the risk of confusion is ‘that
     while using [plaintiff’s] mark to search for information about its product, a consumer
28   might be confused by a results page that shows a competitor’s advertisement on the same
     screen, when that advertisement does not clearly identify the source’”) (citation omitted).
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 1   or amount. Instead, Plaintiff proceeded as if the jury had been asked to decide the Lanham
 2   Act’s equitable disgorgement of profits remedy, which it was not. That relief is subject to
 3   an entirely different standard of proof and is for the Court to decide, as part of a holistic
 4   weighing of equitable factors. Accordingly, the Court should enter a judgment of no
 5   damages or, alternatively, order a new trial or order remittitur.
 6         When seeking damages, a plaintiff must prove both that it actually incurred
 7   damages and the amount of those damages. Intel Corp. v. Terabyte Int’l, Inc., 6 F.3d 614,
 8   620-21 (9th Cir. 1993). “Damages are typically measured by any direct injury which a
 9   plaintiff can prove, as well as any lost profits which the plaintiff would have earned but
10   for the infringement.” Id. (citation omitted). Plaintiff’s only theory of actual damages is
11   that it lost sales due to Defendants’ alleged trademark infringement (i.e., lost profits).
12   Thus, Plaintiff must prove that there were “sales that would have occurred had it not been
13   for the infringing conduct.” Nelson-Ricks Cheese, 331 F. Supp. 3d at 1144 (citing Lindy
14   Pen Co. v. Bic Pen Corp., 982 F.2d 1400, 1408 (9th Cir. 1993).
15         A.     There Is No Evidence of Lost Profits
16         Plaintiff’s damages expert, Robert Wunderlich, merely assumed that all of
17   Defendants’ sales were caused by the alleged infringement, purportedly believing it was
18   Defendants’ burden to disprove causation. Tr. 431:2-434:19, 438:18-439:24, 441:2-7.
19   Even if Defendants “made a sale to a customer, and they did not use the alleged mark with
20   that customer,” Dr. Wunderlich still attributed those sales to infringement.                Tr.
21   440:8-441:7. When confronted by the fact that the abbreviations do not appear on any of
22   the products, Dr. Wunderlich did not explain why he still assumed the marks were used in
23   connection with all of Defendants’ sales, and he refused to “speculate” whether or how
24   any customer was ever exposed to the marks. Id.
25         Thus, Dr. Wunderlich provided no evidence that any of Defendants’ customers ever
26   encountered the purported marks, which is not an insignificant gap, given the dearth of
27   evidence showing Defendants’ actual use of the abbreviations (supra 12-14). In turn, he
28   could not provide or cite any evidence that Defendants’ sales occurred as a result of
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 1   customers being confused by Defendants’ use of the purported marks.
 2           Even before trial, the Court was aware that Dr. Wunderlich would not be used to
 3   establish causation or the existence of any actual damages, and the Court admonished
 4   Plaintiff that it would need other evidence to connect Defendants’ sales to Plaintiff’s lost
 5   profits. See Tr. 7:2-11. It is therefore telling that—through Dr. Wunderlich—Plaintiff
 6   told the jury it was not required to make an affirmative showing of its lost profits. “It
 7   showed no such loss, and implicitly concedes this by arguing that it was not required” to
 8   do so. Ill. Tool Works, Inc. v. Rust-Oleum Corp., 955 F.3d 512, 516 (5th Cir. 2020).
 9           Plaintiff admits it has no evidence of diverted sales or lost customers due to the
10   alleged infringement. See DX3004 at 128:19-129:13 (Boll); DX3000 at 90:16-91:17,
11   96:17-98:15 (White); DX3002 at 181:5-21 (Saharek). To the extent Plaintiff ever lost a
12   sale to Defendants, Plaintiff could not identify any, could not say why it lost any of them,
13   could not say when it lost any of them, and could not provide even a ballpark estimate of
14   how many sales were lost to Defendants. See DX3000 at 90:16-91:17, 96:17-98:15,
15   102:1-7 (White); DX3004 at 128:19-129:13 (Boll).16 Plaintiff also never showed any sales
16   declines, missed forecasts or shortfalls in its own results, much less explain why they were
17   attributable to infringement, rather than natural demand or other market factors. Plaintiff
18   “did not show a loss for which it needs compensation.” Ill. Tool Works, 955 F.3d at 516.
19           Absent such evidence, there is no support for Plaintiff’s bald claim that Defendants’
20   sales “would have gone to Imprimis absent the infringement.” Tr. 689:15-16. As the
21   court in Nelson-Ricks Cheese noted regarding a similar claim for lost profits:
22           NRCC cannot prove even a single dollar in damages. All NRCC relies upon
             for its damages claim is its CEO, Michael Greenberg’s, unsubstantiated
23           statement that “I’ll just make the claim that half the sales of any Banquet label
             product, I would have had if he wouldn’t have mislead people maybe.” “Just
24           mak[ing] a claim” that “maybe” “half the sales” “would have” been NRCC’s
             is a far cry from proving an accurate amount of damages, let alone that any
25           even exist. NRCC has not met the standard required for damages as it has not
             produced any admissible evidence regarding lost sales or established that it
26
        16
27         See tagTrends, Inc. v. Nordstrom, Inc., 2014 WL 12561604, at *7 (C.D. Cal. Sept.
     30, 2014) (“There is absolutely no actual evidence that any of these other brands
28   encountered the language on the Nordstrom supplier website and became confused
     regarding the relationship between TT Global and tagTrends.”).
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 1         has incurred any other damages and the amounts of those damages.
 2   331 F. Supp. 3d at 1144; see also JIPC Mgmt, Inc. v. Incredible Pizza Co., 2009 WL
 3   10671438, at *15 (C.D. Cal. June 24, 2009) (plaintiff “was required to come forward with
 4   evidence of lost sales to avoid partial summary judgment,” but “it adduced no evidence,
 5   and offered no argument that it had actually lost sales”); Am. Auto. Ass’n, 367 F. Supp. 3d
 6   at 1106-08 (summary judgment granted on actual damages).
 7         Further, as explained supra 14-17, Plaintiff has no evidence of actual confusion, let
 8   alone evidence that purchasing decisions were affected by such confusion. It is axiomatic
 9   that Plaintiff cannot establish actual damages unless it can show actual confusion. See 4
10   McCarthy § 30:74 (“recovery of damages requires proof that some consumers were
11   actually confused or deceived”), 3 McCarthy § 23:12 (“a plaintiff who seeks money
12   damages must introduce evidence of actual consumer confusion”). With no evidence of
13   actual confusion—let alone what it looked like or how often it arose—it is impossible to
14   find that Defendants gained a single sale because of the alleged infringement. See Am.
15   Auto. Ass’n, 367 F. Supp. 2d at 1106 (summary judgment granted where witnesses “were
16   unaware of any specific instances of consumers downloading the MAVEN GIG app under
17   the mistaken belief that it was [Plaintiff’s] GIG car share app, or vice versa”); tagTrends,
18   2014 WL 12561604 at *6 (“Plaintiffs simply assume” any “profits realized by TT Global”
19   are “damages suffered by Plaintiffs” without showing how the “website ‘deceived’ any of
20   these manufacturers into doing business with TT Global rather than Plaintiffs”).
21         Moreover, Plaintiff unsuccessfully pivoted to initial interest confusion because
22   actual point-of-sale confusion is unlikely. Supra 15-17. As explained in Avco Corp v.
23   Turn & Bank Holdings, LLC, point-of-sale confusion is what matters for lost profits:
24         [T]here is no evidence that any [consumers] were confused about the identity
           of the manufacturer of servos at the time they purchased any servos. This is
25         critical in a determination of damages, as plaintiffs may only recover profits
           that they ‘would have earned but for the infringement.’ Absent confusion
26         during the purchasing process, there is no evidence of actual lost profits[.]
27   659 F. Supp. 3d 483, 502-03 (M.D. Pa. 2023) (citation omitted), aff’d, 2024 WL 3439771
28   (3d Cir. 2024). Plaintiff does not contend that any eye doctor mistakenly prescribed drugs
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 1   through Defendants’ pharmacy. Supra 12-17. Nor could it.17
 2           Finally, contrary to what Plaintiff suggests, it is not reasonable to presume that any
 3   sale by Defendants would have gone to Plaintiff, absent the infringement, merely because
 4   the parties were competitors. See ECF No. 351 at 13-14.
 5           At the outset, the Court already rejected Plaintiff’s overly narrow definition of the
 6   relevant market, which is not a “two-player” market, not limited to compounding
 7   pharmacies, and “prescribers have many options,” including large branded and generic
 8   pharmaceuticals, as well as other compounding pharmacies. ECF NO. 266 at 18-19. As
 9   the parties testified, the largest addressable market for both parties is the conventional
10   “multiple drop regimen,” which doctors prescribe to commercial pharmacies. Supra 4. It
11   is thus unreasonable to presume “all” of Defendants’ sales would have gone to Plaintiff,
12   rather than one of these more dominant market players.
13           Plaintiff also failed to analyze whether it would have obtained sales absent the
14   alleged infringement. Plaintiff argues that, absent the alleged infringement, “defendants
15   never would have gotten the business off the ground” and “a reasonable juror could have
16   concluded that if defendants had not succeeded, their sales would have gone to Imprimis.”
17   ECF No. 351 at 15. It does not matter whether Plaintiff would have made sales if
18   Defendants went out of business in 2014. The “relevant question is not whether, in the
19   absence of [defendant], any sales would have instead gone to [plaintiff],” but rather, “in
20   the absence of the infringement by [defendant], any sales would have gone to [plaintiff].”
21   Avco, 659 F. Supp. at 502-03 (emphasis added). Assuming Defendants out of existence
22   does not prove whether sales were made due to infringement.
23           B.    There Was No Defensible Basis to Calculate Lost Profits
24           Because there was no evidentiary basis to link Defendants’ sales, Plaintiff’s losses
25   or the alleged infringement, the jury’s quantification of damages was based on speculation
26      17
          None of Plaintiff’s witnesses offered evidence of confusion that was specific enough
27   to avoid judgment as a matter of law. See Am. Auto. Ass’n, 367 F. Supp. 3d at 1107 (“To
     the extent he mentions instances of confusion, Mr. Haight provides no details as to who
28   specifically was confused, when the instance occurred, or how many times that type of
     confusion occurred.”).
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 1   and conjecture. An award of lost profits must be supported by “reasonable certainty,”
 2   which does not require “absolute exactness,” but does require a “reasonable basis for
 3   computation” to ensure that the award is not “remote and speculative.” Lindy Pen, 982
 4   F.2d at 1407-08 (“a plaintiff must make a ‘prima facie showing of reasonably forecast
 5   profits’”); Hansen Beverage Co. v. Vital Pharm., Inc., 2010 WL 3069690, at *7 (S.D. Cal.
 6   Aug. 3, 2010); McClaran v. Plastic Indus., Inc., 97 F.3d 347, 361 (9th Cir. 1996) (same).
 7   The notion that Defendants’ profits appropriately measure Plaintiff’s lost profits, since
 8   such sales purportedly “would have gone to Imprimis absent the infringement” (Tr. at
 9   689:15-16), is all or nothing. No one gave the jury a conversion factor for the relationship
10   between Defendants’ profits to Plaintiff’s losses.
11         Here, the jury awarded $14.5 million in actual damages, of which $10.5 million was
12   for   the   seven   marks    on   the     supplemental   register   (PRED-MOXI-BROM,
13   PRED-GATI-BROM, PRED-BROM, MOXI-BROM, TIM-LAT, TIM-BRIM-DOR and
14   TIM-BRIM-DOR-LAT) and $4 million was for the two marks on the principal register
15   (PRED-MOXI and DEX-MOXI). See ECF No. 342 at 4. The arbitrariness of the damages
16   award itself shows that the jury had no reasonable basis to calculate Plaintiff’s actual
17   damages. The jury awarded $4 million in “lost profits” to Plaintiff for PRED-MOXI and
18   DEX-MOXI, even though Plaintiff told the jury that Defendants’ total profits for those
19   two products was only $1 million, based on approximately $3 million in revenues. See
20   Tr. 688:9-689:14. While the jury awarded Plaintiff approximately 400% of the claimed
21   profits for the two marks on the principal register, it awarded roughly 60% of the $18
22   million in claimed profits for the seven marks on the supplemental register. See Tr. at
23   689:4-14.
24         There is no way to explain how the jury reached its $4 million figure, nor why it
25   applied vastly different percentages (400% vs. 60%) to Defendants’ profits. Plaintiff
26   adduced no evidence about the frequency of infringement, the frequently of confusion, or
27   how frequently confusion led to sales, let alone whether or how often those sales otherwise
28   would have gone to Plaintiff. The jury was left to pick a number, out of thin air, between
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 1   0% and 100% of Defendants’ sales (or, apparently 400%). That is not a reasonable basis,
 2   and the amount of the damages is unsupported. “Using a percentage of some number
 3   unrelated to the plaintiff’s injury is an unacceptable way to estimate damages.” Zazu
 4   Designs v. L’Oreal, S.A., 979 F.2d 499, 506 (7th Cir. 1992) (reversing damages award).
 5    V. WILLFULNESS
 6           The evidence was insufficient to support the jury’s finding of willfulness. Willful
 7   infringement involves a “deliberate intent to deceive.” San Miguel Pure Foods Co. v.
 8   Ramar Int’l Corp., 625 F. App’x 322, 324-25 (9th Cir. 2015). Conduct must be “willfully
 9   calculated to exploit the advantage of an established mark.” Lindy Pen, 982 F.2d at 1405.
10   Courts routinely grant summary judgment where the undisputed facts demonstrate that the
11   defendant selected the disputed mark without knowledge of the plaintiff’s mark. See Scat
12   Enters., Inc. v. FCA USA LLC, 2017 WL 5896182, at *2 (C.D. Cal. June 8, 2017);
13   Groupion, LLC v. Groupon, Inc., 859 F. Supp. 2d 1067, 1081-82 (N.D. Cal. 2012).
14           Plaintiff’s only evidence of willfulness is one email from late 2019, sent by Eric
15   Gardner, which acknowledges that “Pred-Gati-Brom” and “Pred-Brom” are “trademarked
16   by Imprimis,” and instructs a marketing vendor not to “use it in our ad copy.” PX202.
17           This email fails to create a triable issue regarding willfulness. At the outset, the
18   email is irrelevant because knowing use of a mark, with the belief that there is no
19   confusion, does not constitute willful infringement. Lindy Pen, 982 F.2d at 1406. Mere
20   awareness is not enough to demonstrate willfulness, and nothing about the email suggests
21   that Defendants believed anyone would be confused. Much less that Defendants believed
22   that confusion would somehow benefit them or that Defendants developed some strategy
23   to capitalize on Plaintiff’s purported goodwill.18
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        18
25         Defendants were not able to offer their best evidence against the suggestion because
     of rulings that excluded compelling evidence about Plaintiff’s truly awful track record
26   and lack of goodwill. ECF No. 316 (granting ECF Nos. 296, 297); Tr. 534:15-536:13. If
     Defendants had been allowed to show the staggering number of regulatory violations,
27   recalls, quality issues, and health problems (including Plaintiff causing the death of a
     patient), it is doubtful that the jury would have believed Plaintiff’s suggestion that
28   Defendants were trying to “freeride” off Plaintiff’s purported goodwill. The Court should
     order a new trial due to the unfairness of excluding such evidence.
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 1           More importantly, Defendants never used the abbreviations as trademarks in the
 2   first place, and Plaintiff never established otherwise. Defendants merely used them qua
 3   abbreviations for well-known generic medication names, which are indisputably a
 4   mouthful. See Tr. 529:2-532:13. Plaintiff offered no affirmative evidence controverting
 5   that self-evident explanation. Instead, Plaintiff merely asserted—through counsel’s cross-
 6   examination of Defendants’ witnesses—that Defendants used the abbreviations for a more
 7   sinister purpose. Then, during its closing argument and in post-trial briefing to this Court,
 8   Plaintiff cited Defendants’ denials and suggested that the jury was free to reject them as
 9   noncredible. If that were a sufficient evidentiary basis, then no case could be dismissed
10   as a matter of law. A plaintiff must have affirmative evidence to back up the allegation,
11   or else the issue should not be put to the jury in the first place.
12           Finally, no reasonable trier of fact could infer an intent to deceive based on the
13   overall commercial impression of Defendants’ advertisements. Supra 12-17.
14           Defendants are entitled to judgment as a matter of law on willfulness.19
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             The lack of evidence of willfulness shows why the actual damages and punitive
19   damages awards here were “excessive” and “monstrous,” supra 1-2. The same can be
     said regarding the lack of evidence on confusion, causation, the weakness of the purported
20   marks. The jury’s actual damages and punitive damages awards bear no relationship to
     either (i) the gravity of Defendants’ conduct; (ii) Defendants’ actual profits during the time
21   period, which were negative or de minimis (Tr. 444:9-445:2, 566:10-567:6, 575:9-22); or
     (iii) any rational effort to estimate the “harm” Plaintiff actually suffered. Additionally,
22   there was no evidence in the record to comply with California’s requirement to consider
     “evidence of defendants’ financial worth in considering the appropriateness of the punitive
23   award.” See Adams v. Murakami, 54 Cal.3d 105 (1991). Defendants were also prejudiced
     as to damages by the fact that Dr. Wunderlich was allowed to testify, for the reasons raised
24   previously (see, e.g., ECF No. 294). Finally, it is unclear whether the jury even agreed to
     the amount of damages, as previously raised by Juror No. 7. For all of these reasons, if
25   the Court declines to order judgment as a matter of law, it should minimally order a new
     trial or remittitur on actual damages and punitive damages.
26       Separately, the jury was not asked to make a finding on Defendants’ fair use affirmative
27   defense, which confused the jury and unfairly prejudiced Defendants. Given the lack of
     evidence of willfulness and the lack of evidence that either party used the abbreviations
28   qua trademarks, the Court should order judgment as a matter of law on its fair use
     affirmative defense or, alternatively, a new trial.
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 2   Dated: February 28, 2025             WILSON SONSINI GOODRICH & ROSATI
                                          Professional Corporation
 3
                                          By: /s/ Dylan J. Liddiard
 4                                              Dylan J. Liddiard
 5                                         Attorneys for Defendants
                                           OSRX, Inc. and Ocular Science, Inc.
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